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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Diana Reynolds, et al.
                                 Plaintiff,
v.                                                    Case No.: 1:17−cv−00170
                                                      Honorable John J. Tharp Jr.
CHW Group, Inc.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 14, 2019:


       MINUTE entry before the Honorable Young B. Kim: Status hearing held by phone
and continued to April 2, 2019, at 10:00 a.m. by phone. Parties are to use the same call−in
information. Parties are continuing to discuss settlement. Mailed notice (ma,)




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